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 5
     Attorney(s) for Plaintiff Scanning Technologies Innovations, LLC
 6

 7
                      IN THE UNITED STATES DISTRICT COURT
 8
                  FOR THE WESTERN DISTRICT OF WASHINGTON
 9

10
     SCANNING TECHNOLOGIES                          Civil Action No. 2:19-cv-01002-RAJ
11   INNOVATIONS LLC,
12                                                  AFFIDAVIT OF LEIGH
                        Plaintiff,                  ROTHSCHILD
13
           v.
14

15   SMARTOSC US LLC,
16                      Defendant.
                                                    DEMAND FOR JURY TRIAL
17

18
     COUNTY OF _____________                  )
19
                                              )
20
     STATE OF ___________________             )
21

22
     Leigh Rothschild, principle at Scanning Technologies LLC, being duly sworn,
23
     deposes and states as follows:
24

25         1.    On June 27, 2019, Scanning Technologies Innovations LLC (“STI”) filed
26
     a complaint against Smart alleging infringement of U.S. Patent No. 9,466,078 (“the
27

28   ‘078 Patent”).
                                                   1
                                     MOTION FOR DEFAULT JUDGMENT
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 1
          2.     Smartosc US LLC has not responded to the complaint.

 2        3.     On September 10, 2019, a clerk’s entry of default as to liability was
 3
     entered in favor of STI.
 4

 5        4.     In evaluating damages for patent infringement several factors must be

 6   examined including, but not limited to:
 7
                 a. the Defendant's usage of the technology that the subject patent covers,
 8

 9                  and

10               b. the Defendant's revenue derived from that usage.
11
          5.     Without the benefit of discovery from the Defendant, but based on
12

13   research and belief including the attached overview (Exhibit A) STI believes that
14   Defendant has relied upon and utilized the technology embodied in the ‘078 Patent
15
     for a substantial portion of Defendant’s business.
16

17        6.     Based on income figures obtained by Zoominfo as reported in March of
18
     2020 and Exhibit A, Defendant has a revenue of 17 million dollars per year.
19
          7.     According to smallbusiness.chron.com as reported in March 2020,
20

21   average royalty rates for patent licensing range from 3 to 6 percent of gross sales.
22
     These rates are consistent with the information that the Plaintiff has been aware of
23
     for many years.
24

25        8.     Based at least on the foregoing, STI believes a reasonable royalty in this
26
     case can be calculated as follows:
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28

                                               2
                                 MOTION FOR DEFAULT JUDGMENT
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